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lN THE UN|TED STATES DlSTR|CT COURT '
FOR THE WESTERN DlSTRlCT OF TENNESSEE 05 JUL 22 AH 6; 39

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uNlTED sTATEs oF AMER|GA, m ` ="#*§*-'

P\aimirf, cr. No. 03-20238-0
vs. *
ANGELA T. BELL, *

Defendant. *

 

ORDER GRANT|NG GOVERNMENT’S MOT|ON TO DlSM|SS
WITHOUT PREJUD|CE AS TO DEFENDANT ANGELA T. BELL

 

lt is hereby ORDERED that the Government’s N|otion to Dismiss Without
Prejudice as to Defendant Ange|a T. Bel| is hereby GRANTED.

DONE at |V|emphts, Tennessee, this Q?[ day of Ju|y, 2005.

 
   

H NORABLE B RN|CE B. DONALD
UN|TED STATES D!STRlCT JUDGE

Th\s document entered on the docket sh
with Rule 55 andlor 32{b) FRCrP on 1 \ 13

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

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Honorable Bernice Donald
US DISTRICT COURT

